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UNITED STATES DISTRICT COURT OCT 2 9 2010

NORTHERN DISTRICT OF ILLINOIS MICHAEL W. DOBBINS

CLERK, U.S. DISTRICT COURT

JALEH BANAEI, 1 0
Plaintiff, cv6966 .
Judge William T. Hart
~against- Com Magistrate Sheila M. Finn egan
CITY OF EVANSTON AND
EVANSTON POLICE OFFICERS MESSING AND NIZIOLEK
Defendant.

1. At all times hereinafter mentioned, Plaintiff was, and still is, a resident of Evanston, Illinois.

2, Defendant, having a main office at 2100 Ridge Avenue Evanston, IL 60201 is a municipality
in the State of Illinois,

3. The jurisdiction of this court is invoked pursuant to 42 USCS 1981 and 1983.
4. FACTS OF THE CASE

Plaintiff is a female, 53 years old, Caucasian, and has a foreign accent.

In 2003 and 2004 Plaintiff purchased properties at 2025 Ashland and 1822 Dodge Avenue in
Evanston, Wlinois, both in a predominately African-American neighborhood.

Between 2004 and 2010, Plaintiff called the Evanston Police often for various issues including
theft, vandalism, and harassment by tenants and others.

After many complaints, an Evanston Police officer told her that if they took serious action in
such situations, there would be protests by African Americans for alleged discrimination in front
of City hall as had happened in the past and the City of Evanston would pressure the Police to
stop or limit such arrests. The Police Officer explained that this is why Plaintiff should leave the
neighborhood.

Although the Police responded to each complaint, at no time did they conduct any further
investigation of said complaints beyond taking Plaintiff's statement.

In 2006, Maria Hentz became a tenant at 2025 Ashland.

In 2008, Cornell Hentz, who was frequently a guest before, and increased his visitation; moved
in to the apartment at 2025 Ashland with Maria Hentz in violation of the lease and without
Plaintiff's consent.

 
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In July 2008, Plaintiff went to the apartment, along with her handyman, David Starling, to fix a
window and the plumbing. Plaintiff gave 48 hours notice to Ms. Maria Hentz, the tenant.
Cornell Hentz would not let Plaintiff in. He eventually let her in after he talked to Mrs. Hentz.
Mr, Hentz proceeded to call Plaintiff a “whore” a “bitch’ and a “tramp” and said she needed to
“get laid.” Mr. Hentz pushed his body up against Plaintiff and leaned into her, bending her
backwards over the counter. Plaintiff shifted away. David Starling, a witness to these events,
told Mr. Hentz to stop. Mr. Hentz began to pick up some of Mr. Starling’s tools.

Plaintiff called the Evanston Police. An Evanston Police Officer showed up, Plaintiff told the
Officer what happened (a clear case of assault and battery). The officer stated “all he could do”
was ask Mr. Hentz to leave. The officer did not question Mr. Starling or make any further
investigation of the matter.

On October 30, 2008, around 6pm Maria Hentz called Plaintiff about a clogged drain in the
basement. Plaintiff said she would fix it and left. Mr. and Mrs. Hentz called Plaintiff at nine and
told her that the situation with the drain was “totally unacceptable.” Plaintiff responded that she
would fix it.

Upon inspection, Plaintiff saw that someone who had been inside the building (and who she
suspected was Mr. Hentz) placed a towel in the basement drain and there was dog feces in the
basement near the drain. The dog feces was too big to fit through the drain. There was collected
water near the drain, but there had been no rain.

Plaintiff called the Police to investigate the damage to the apartment and take her statement. The
Police were reluctant to do so.

Later on that day, Plaintiff was painting porches outside the apartment building. Mr. Hentz made
a phone call and a Ms. Charisse Roberson arrived. Plaintiff overheard Mr. Hentz and Ms.
Roberson say something about “court” and “witness,” which Plaintiff naively thought was about
Plaintiff's potential eviction the Hentz family.

Mr. Hentz, angry that Plaintiff had called the Evanston Police then made more lewd remarks to
Plaintiff and gestured a sexual act using his hips. Mr. Hentz kicked over a can of paint and
pressed his chest against Plaintiff’s in a threatening manner, Both plaintiff and Mr. Hertz called
the police.

The only witnesses were Mr. Hentz, Plaintiff, and, Charisse Roberson.

Two African American Evanston Police Officers arrived. They appeared to be familiar with
Plaintiff and Mr. Hentz. Also, Officer Nizolek, and Officer Messing of the Evanston Police,
arrived, told Plaintiff to “shut up;” depriving her of the ability to tell them that Mr, Hentz had
called someone before he attacked her, that Mr. Hentz had discussions with Ms. Roberson about
“court” and a “witness” before he attacked her, and that, in fact, Mr. Hentz had attacked Plaintiff
rather than the other way around.

The Police took Mr. Hentz’s and Ms. Roberson’s statements. The Police report states that
Plaintiff did not say that Mr. Hentz bumped her in the chest in a threatening manner, and only

contained Mr, Hentz’s statement that Plaintiff had “bumped him” in the chest and caused him to
“stumble back.”

 

 
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 Plaintiff’s driver’s license issued J uly 6, 2010 states that Plaintiff is five feet three inches tall and
weighs 125 pounds, Plaintiff verifies that this was her height and weight at the time of the
incident.

Mr. Hentz is African American, approximately six feet tall and weighed approximately 200
pounds at the time of the incident,

The Officers handcuffed and arrested Plaintiff, and took her to a large room at the Police station
where other Police officers were walking through. The Police ordered Plaintiff to take off her
sweater. Plaintiff responded that she was only wearing lingerie under the sweater and did not
want te be embarrassed. The Police insisted that Plaintiff remove her sweater, under which she
was wearing see-through lingerie.

The Police conducted a full search of Plaintiff at least three times, including her breasts and
buttocks. Officers Messing and Niziolek, a male and female, were present during this
examination and acted belligerently towards Plaintiff. Several other male officers walked
through while Plaintiff was being searched and laughed her.

Plaintiff asked for a supervisor. A supervisor arrived, sneered at Plaintiff, and walked away.
The supervisor seemed to recognize Plaintiff.

Plaintiff has suffered severe emotional distress as a result of these incidents, is afraid to leave her
apartment, has difficulty sleeping and has constant nightmares of being attacked, Plaintiff is
afraid to call the Police.

Mr. Hentz has called Plaintiff numerous names, ridiculed her accent, made sexually obscene
gestures towards her, assaulted and battered her, and threatened to kill her.

5. SUMMARY

Over a six-year period, Plaintiff filed over 20 police reports regarding theft of and damage to her
property, and threats to her person. In many cases, Plaintiff told the Police who she suspected of
the crime. Plaintiff believes these crimes to have been committed by Mr. Hentz and other
individuals. In many cases it was clear who had committed the crime (e.g. a tenant left his
apartment and immediately thereafter, a radiator was missing from the apartment.) In only one
case did the Police do anything beyond taking Plaintiff’s statement, and in that case all they did
was talk to one neighbor.

On one occasion Plaintiff had two witnesses (including herself) to an assault and battery by Mr.
Hentz, and the Police simply let Mr. Hentz go without getting a statement from the witness (Mr.
Starling)’s statement.

Mr. Hentz has filed one complaint against Plaintiff. He had two witnesses (including himself).
Mr. Hentz’s story of being attacked by a 52 year old five foot three 125 pound woman with
graying hair strains credulity. Nevertheless, the Evanston Police arrested and incarcerated
Plaintiff and did not take her statement. The Evanston Police then forced Plaintiff to remove her
sweater, revealing her breasts and conducted multiple full body searches while two Officers
stood and laughed and many walked by.
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At least one Officer has admitted the racial motive of keeping the African-American portion of
Evanston pacified, keeping the more affluent parts of Evanston safe, and avoiding political
confrontation.

Even without this statement, the Police have demonstrated a clear pattern of racially, ethnically,
gender-based and age-based disparate treatment of Plaintiff. This conduct was willful and
wanton.

Such conduct is a violation of Illinois State law and 42 USCS, 1981 and 1983 as specifically set
forth below showed deliberate indifference to the rights of Plaintiff and deprived Plaintiff of her
legal rights as follows:

6. COUNT I- VIOLATION OF THE FOURTH AMENDMENT - 1983 AND FOURTH
AMENDMENT CLAIM

Plaintiff alleges the conduct and allegations above as if fully set forth in this Count 1.

Such conduct is in violation of 42 USC 1983, in that the Evanston Police violated Plaintiff's
Fourth Amendment rights because no reasonable person would believe there was probable cause.

7, COUNT II - FALSE ARREST -1983 AND FOURTH AMENDMENT CLAIM
Plaintiff alleges the conduct and allegations above as if fully set forth in this Count I.

Such conduct is in violation of 42 USC1983 and the Fourth Amendment to the Constitution of
the United States, and therefore constitutes false arrest.

8. COUNT III - EQUAL PROTECTION - 1981 AND AMENDMENT 14°#
AMENDMENT CLAIM

Plaintiff alleges the conduct and allegations above as if fully set forth in this Count III.

Such conduct is in violation of 42 USC 1981 and the Fourteenth Amendment of the Constitution
of the United States because it denies Plaintiff equal protection of the law.

9, COUNT IV — FALSE IMPRISONMENT - 1983 AND STATE LAW CLAIM
Plaintiff alleges the conduct and allegations above as if fully set forth in this Count IV.

Such conduct constitutes false imprisonment because (1) the plaintiff was restrained by force or
threat of force by the Defendant and (2) the Defendant acted without having reasonable grounds
to believe that an offense was committed by the Plaintiff.

10. COUNT V —- INTENTIONAL OR NEGLIGENT INFLICTION OF EMOTIONAL
DISTRESS 1983 AND STATE LAW CLAIM

Plaintiff alleges the conduct and allegations above as if fully set forth in this Count V.

Such conduct constitutes intentional or negligent infliction of emotional distress because (1) the
Defendants’ conduct was truly extreme and outrageous, (2) the Defendants either intended to
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inflict emotional distress or knew there was at least a high probability that they would cause
severe emotional distress.

11. INCONCLUSION, the Evanston Police’s actions and failure to act are a result of Evanston
Police policy and custom, The city of Evanston has failed to implement any effective guidelines
or program to train, supervise, or regulate its police officers regarding gender, age, or race
discrimination except to avoid discrimination and perceived discrimination against African
Americans,

These actions and failure to act also reflect a deliberate or conscious choice by the City and the
Police Officers involved in these incidents to ignore the need of such policy and to ignore the
Constitutional rights of its citizens and has the effect of condoning such behavior. These were
and are a proximate cause of the extreme emotional and physical distress to Plaintiff.

12, WHEREFORE, plaintiff demands: damages of not less than $3,000,000, a court order
requiring the Evanston Police Department to adopt a non-discriminatory policy regarding arrests
and investigation of alleged crimes, the removal of Officers Messing and Nizoliek from the
Evanston Police Department and to take any other actions this Court finds necessary or

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Peter Kaminsky

 

Attorney for the Plaintiff
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(630) 788-4653
ARDC # 6207183
DATE: October 29, 2010
AFFIDAVIT

I, Jaleh Banaei, certify and attest that, to the best of my knowledge and belief, the
statements and claims in the foregoing complaint are true and accurate.

ot ‘ Kamau

JALEH BANAEI

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Date

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

JALEH BANAEI,
PLAINTIFF,

-and-

CITY OF EVANSTON AND
UNNAMED EVANSTON POLICE OFFICERS
DEFENDANT.

AFFIDAVIT OF SERVICE

I, PETER KAMINSKY, certify that I served the city of Evanston, IL with the attached
Complaint via regular mail on October 29th, 2010.

AA amb

PETER KAMINSKY’

10/29/10

Date

 

PETER KAMINSKY
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Attorney # 47536

 
